










COURT OF 
APPEALS
SECOND 
DISTRICT OF TEXAS
FORT WORTH
&nbsp;
NO. 
2-04-249-CV
&nbsp; 
&nbsp; 
IN 
RE J. MICHAEL FINCHER, P.C., &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 
RELATORS
J. 
MICHAEL FINCHER, INDIVIDUALLY,
BENJAMIN 
JOHNSON, JR., JOHN M.
MARTINECK, 
MICHAEL HAVARD, AND
PROVOST 
UMPHREY LAW FIRM, L.L.P.
&nbsp; 
&nbsp; 
------------
ORIGINAL 
PROCEEDING
------------
MEMORANDUM 
OPINION1
------------
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The 
court has considered relators' petition for writ of mandamus and is of the 
opinion that relief should be denied.&nbsp; Accordingly, relators' petition for 
writ of mandamus is denied.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relators 
shall pay all costs of this original proceeding, for which let execution issue.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER 
CURIAM
&nbsp; 
&nbsp; 
PANEL 
A:&nbsp; MCCOY, LIVINGSTON, and DAUPHINOT, JJ.
&nbsp;
DELIVERED:&nbsp; 
September 17, 2004


NOTES
1.&nbsp; 
See Tex. R. App. P. 47.4.



